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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:
                                                                Chapter 7
                                                                Case No. 19-11317 (LSS)
 LIVE WELL FINANCIAL, INC.,
                              Debtor.

 DAVID W. CARICKHOFF, solely in his capacity as                 Adv. Pro. No. 21-50990-LSS
 Chapter 7 Trustee of LIVE WELL FINANCIAL, INC.,

                              Plaintiff,

 v.
 STUART H. CANTOR, JAMES P. KARIDES, BRETT J.
 ROME, LWFVEST, LLC, NORTH HILL VENTURES II,
 LP, FIVE ELMS EQUITY FUND I, L.P., FIVE ELMS
 HAAKON, L.P., FIVE ELMS COINVEST, L.P., JAMES
 BROWN, GANTCHER FAMILY LIMITED
 PARTNERSHIP, and ERIC LEGOFF,

 and
 JOHN DOES 1–10,

                              Defendants.


    STIPULATION OF DISMISSAL OF CLAIMS AGAINST DEFENDANTS JAMES
   BROWN, GANTCHER FAMILY LIMITED PARTNERSHIP, AND ERIC LEGOFF


          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii)

and Federal Rule of Bankruptcy Procedure 7041, plaintiff David W. Carickhoff, solely in his

capacity as the Chapter 7 Trustee of the estate of Live Well Financial, Inc., James Brown, Gantcher

Family Limited Partnership, and Eric Legoff (collectively, the “Settling Defendants”), by and

through their respective counsel, hereby stipulate to the dismissal of all claims brought against the

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Settling Defendants in the above-captioned adversary proceeding in their entirety with prejudice,

with each party to bear its own costs and attorneys’ fees. For the avoidance of doubt, this

stipulation does not dismiss any claims or causes of action alleged against any other defendant in

this adversary proceeding.



Dated: December 12, 2023                         Dated: December 12, 2023



/s/ Stanley B. Tarr                              /s/ William E. Chipman, Jr.
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-and-                                            -and-

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vice)                                            Chipman Brown Cicero & Cole, LLP
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Counsel for David W. Carickhoff,
The Chapter 7 Trustee




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